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                             Nebraska Court of Appeals Advance Sheets
                                  32 Nebraska Appellate Reports
                                             STATE V. MURILLO-GODOY
                                               Cite as 32 Neb. App. 374



                                    State of Nebraska, appellee, v.
                                 Alexis M. Murillo-Godoy, appellant.
                                                    ___ N.W.2d ___

                                        Filed November 14, 2023.   No. A-22-909.

                 1. Constitutional Law: Search and Seizure: Motions to Suppress:
                    Appeal and Error. In reviewing a trial court’s ruling on a motion to
                    suppress based on a claimed violation of the Fourth Amendment, an
                    appellate court applies a two-part standard of review. Regarding histori-
                    cal facts, an appellate court reviews the trial court’s findings for clear
                    error, but whether those facts trigger or violate Fourth Amendment
                    protections is a question of law that an appellate court reviews indepen-
                    dently of the trial court’s determination.
                 2. Constitutional Law: Search and Seizure. Both the Fourth Amendment
                    to the U.S. Constitution and article I, § 7, of the Nebraska Constitution
                    guarantee against unreasonable searches and seizures.
                 3. Search and Seizure: Evidence: Trial. Evidence obtained as the fruit
                    of an illegal search or seizure is inadmissible in a state prosecution and
                    must be excluded.
                 4. Constitutional Law: Police Officers and Sheriffs: Search and
                    Seizure: Appeal and Error. To determine whether an encounter
                    between an officer and a citizen reaches the level of a seizure under
                    the Fourth Amendment to the U.S. Constitution, an appellate court
                    employs the analysis set forth in State v. Van Ackeren, 242 Neb. 479,
                    495 N.W.2d 630 (1993), which describes the three levels, or tiers, of
                    police-citizen encounters.
                 5. Constitutional Law: Police Officers and Sheriffs: Search and
                    Seizure: Arrests. A tier-one police-citizen encounter involves the vol-
                    untary cooperation of the citizen elicited through noncoercive question-
                    ing and does not involve any restraint of liberty of the citizen. Because
                    tier-one encounters do not rise to the level of a seizure, they are outside
                    the realm of Fourth Amendment protection. A tier-two police-citizen
                    encounter involves a brief, nonintrusive detention during a frisk for
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           Nebraska Court of Appeals Advance Sheets
                32 Nebraska Appellate Reports
                          STATE V. MURILLO-GODOY
                            Cite as 32 Neb. App. 374
      weapons or preliminary questioning. A tier-three police-citizen encoun-
      ter constitutes an arrest, which involves a highly intrusive or lengthy
      search or detention. Tier-two and tier-three police-citizen encounters are
      seizures sufficient to invoke the protections of the Fourth Amendment to
      the U.S. Constitution.
 6.   Constitutional Law: Search and Seizure. A seizure in the Fourth
      Amendment context occurs only if, in view of all the circumstances sur-
      rounding the incident, a reasonable person would have believed that he
      or she was not free to leave.
 7.   ____: ____. In addition to situations where an officer directly tells a sus-
      pect that he or she is not free to go, circumstances indicative of a seizure
      may include the threatening presence of several officers, the display of a
      weapon by an officer, some physical touching of the citizen’s person, or
      the use of language or tone of voice indicating the compliance with the
      officer’s request might be compelled.
 8.   Police Officers and Sheriffs: Search and Seizure. A seizure does not
      occur simply because a law enforcement officer approaches an indi-
      vidual and asks a few questions or requests permission to search an area,
      provided the officer does not indicate that compliance with his or her
      request is required.
 9.   Investigative Stops: Motor Vehicles: Time. A lawful traffic stop can
      become unlawful if it is prolonged beyond the time reasonably required
      to complete the mission of the stop, such as issuing a warning ticket.
10.   ____: ____: ____. When the mission of an investigative stop is address-
      ing a suspected traffic violation, the stop may last no longer than is
      necessary to effectuate that purpose, and authority for the seizure thus
      ends when tasks tied to the traffic infraction are, or reasonably should
      have been, completed.
11.   Investigative Stops: Motor Vehicles: Police Officers and Sheriffs.
      Although a police officer can inquire into matters unrelated to the jus-
      tification for a traffic stop if it does not measurably extend the duration
      of the stop, it is unlawful to prolong a stop beyond the time reasonably
      required to complete the mission of the stop.
12.   Investigative Stops: Motor Vehicles: Police Officers and Sheriffs:
      Probable Cause. A traffic stop can be extended if the officer has a rea-
      sonable, articulable suspicion that the motorist is involved in criminal
      activity unrelated to the traffic violation.
13.   Probable Cause: Words and Phrases. Reasonable suspicion entails
      some minimal level of objective justification for detention, something
      more than an inchoate and unparticularized hunch, but less than the level
      of suspicion required for probable cause.
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          Nebraska Court of Appeals Advance Sheets
               32 Nebraska Appellate Reports
                        STATE V. MURILLO-GODOY
                          Cite as 32 Neb. App. 374
14. Police Officers and Sheriffs: Probable Cause. Whether a police offi-
    cer has a reasonable suspicion based on sufficient articulable facts
    depends on the totality of the circumstances and must be determined on
    a case-by-case basis.
15. Probable Cause. Factors that would independently be consistent with
    innocent activities may nonetheless amount to reasonable suspicion
    when considered collectively.
16. Probable Cause: Police Officers and Sheriffs. A determination that
    reasonable suspicion exists need not rule out the possibility of innocent
    conduct. The inquiry is not whether some circumstances may be suscep-
    tible of innocent explanation, but whether, taken together, they suffice
    to form a particularized and objective basis for the officer to suspect a
    crime is, or is about to, occur.
17. Investigative Stops: Motor Vehicles: Police Officers and Sheriffs:
    Probable Cause. An officer’s suspicion of criminal activity may reason-
    ably grow over the course of a traffic stop as the circumstances unfold
    and more suspicious facts are uncovered.
18. Investigative Stops: Motor Vehicles: Police Officers and Sheriffs.
    Although of limited usefulness, nervousness exhibited by a motorist
    during a traffic stop may be considered along with other factors in deter-
    mining whether the officer has reasonable suspicion to expand the scope
    of the detention.
19. Investigative Stops: Police Officers and Sheriffs: Probable Cause.
    If reasonable suspicion exists for a continued detention, the court must
    consider whether the detention was reasonable in the context of an
    investigative stop, considering both the length of the continued detention
    and the investigative methods employed.
20. Constitutional Law: Miranda Rights: Self-Incrimination. The safe-
    guards provided by Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602,
    16 L. Ed. 2d 694 (1966), come into play whenever a person in custody
    is subjected to either express questioning or its functional equivalent.
21. Miranda Rights. The ultimate inquiry for determining whether a person
    is in custody for purposes of Miranda v. Arizona, 384 U.S. 436, 86 S.
    Ct. 1602, 16 L. Ed. 2d 694 (1966), is whether there is a formal arrest
    or restraint on freedom of movement of a degree associated with a for-
    mal arrest.
22. Miranda Rights: Investigative Stops: Motor Vehicles. Persons tempo-
    rarily detained pursuant to an investigatory traffic stop are not in cus-
    tody for purposes of Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602,
    16 L. Ed. 2d 694 (1966).
23. Miranda Rights: Police Officers and Sheriffs: Investigative Stops:
    Motor Vehicles. When a person is detained pursuant to a traffic stop,
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          Nebraska Court of Appeals Advance Sheets
               32 Nebraska Appellate Reports
                        STATE V. MURILLO-GODOY
                          Cite as 32 Neb. App. 374
    there must be some further action or treatment by the police to render
    the driver in custody and entitled to Miranda warnings.
24. Miranda Rights: Arrests. It is where a suspect is detained only to an
    extent analogous to an arrest that Miranda warnings are required.
25. Confessions: Police Officers and Sheriffs: Due Process. Coercive
    police activity is a necessary predicate to the finding that a confession
    is not voluntary within the meaning of the Due Process Clause of the
    14th Amendment.

   Appeal from the District Court for Dawson County: James
E. Doyle IV, Judge. Affirmed.

   Brian W. Copley, of Heldt, McKeone &amp; Copley, for appellant.

   Michael T. Hilgers, Attorney General, and Jordan Osborne
for appellee.

   Pirtle, Chief Judge, and Moore and Riedmann, Judges.

   Moore, Judge.
                       INTRODUCTION
   Alexis M. Murillo-Godoy appeals from his conviction for
possession of fentanyl with intent to distribute following a
stipulated bench trial in the district court for Dawson County.
He asserts that the district court erred in denying his motion
to suppress and that he received ineffective assistance of trial
counsel. For the reasons stated herein, we affirm.

                   STATEMENT OF FACTS
Charges.
   On December 21, 2021, the State filed an information in
the district court charging Murillo-Godoy with possession of
fentanyl with intent to distribute in violation of Neb. Rev.
Stat. § 28-416(1) (Cum. Supp. 2020), a Class II felony, and
possession of drug money in violation of § 28-416(17), a
Class IV felony. The State also included a claim pursuant to
§ 28-416(18), seeking forfeiture of the $2,000 cash found in
Murillo-Godoy’s possession at the time of his arrest.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
Motion to Suppress and Hearing.
   In January 2022, Murillo-Godoy filed a motion to suppress
“any and all evidence, and statements, and the fruits thereof,”
resulting from the search of his vehicle “because of a search
conducted after receiving consent to search through manipula-
tion and deception of another suspect after law enforcement
contact should have ended.”
   A suppression hearing was held before the district court
on February 15, 2022. The State called Troy Goodschmidt,
a trooper with the Nebraska State Patrol since 2008.
Goodschmidt testified about his specialized training in the
area of drug interdiction, which included updated information
on what law enforcement was seeing nationwide and in cer-
tain areas of the country in terms of “any type of contraband
smuggling,” as well as information on indicators of possible
illegal conduct to watch for during vehicle stops, includ-
ing the type of vehicle, the origin and destination of travel,
and the physiology of and emotions exhibited by the people
in the vehicle.
   Goodschmidt testified about his stop of and the subsequent
arrest of Murillo-Godoy. On August 23, 2021, at about 10:55
p.m., Goodschmidt was on duty, patrolling eastbound traf-
fic on Interstate 80 in Dawson County, when he observed a
four-door sedan with an inoperable taillight on the driver’s
side. Goodschmidt began to follow the vehicle, and when he
caught up with it, he noticed it was “an older BMW” with a
California license plate “with an eight as the first digit.” That
detail was significant to Goodschmidt because in California,
once a vehicle is registered, the plate stays with the vehicle
no matter how many times the vehicle is bought or sold.
Goodschmidt explained that the plate on a 2008 vehicle should
have had “a four or five as the first digit instead of an eight”
and that “[e]ight signifies that it has probably been purchased
or plated for the first time on that title . . . since mid to late
2020, depending on what the next number is.”
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
   When Goodschmidt “ran the tag,” he discovered that the
vehicle had a salvage title and that it had been titled in June
2021 and registered on July 30, less than a month prior to the
stop. According to Goodschmidt, the only time someone can
obtain a new license plate in California (for something other
than a new vehicle) is when a person brings a vehicle into
California from another state or when “it’s a California vehicle
and they salvage title it.” Goodschmidt was aware, based on
his training and experience, that drug trafficking organizations
utilize salvage titles, which allows them to change the license
plates on vehicles, and they will then build “aftermarket com-
partments” into the vehicle itself. Goodschmidt explained that
interdiction officers used to look for “third-party vehicles,
meaning the owner is not present in the vehicle,” but that
drug traffickers have adapted by using salvage titles, which
allow for a change to a vehicle’s license plates and registra-
tion of the vehicle in the name of the person who is going to
be using it. Another benefit to using salvage titles is that it
“[d]efeats the license plate readers across the country from
seeing that plate going back and forth on numerous trips.”
Goodschmidt acknowledged that not all vehicles with sal-
vage titles are engaged in illegal activity, but he testified that
seeing a salvage title “might boost [the likelihood of illegal
activity] a little bit” and that it was “something to look for”
while making a vehicle stop. He noted that before making the
vehicle stop at issue here, he was also aware that the vehicle
was registered in Long Beach, California, which he noted was
a source area for narcotics.
   When Goodschmidt initiated the traffic stop, his vehicle
was equipped with a “front-facing camera” that recorded the
stop from that vantage point (video recording of dashboard
and body camera footage were received into evidence as
exhibit 1). Goodschmidt’s body camera was charging in his
vehicle at the time, so there is no audio of his initial interac-
tion with the driver, whom he identified as Murillo-Godoy.
Goodschmidt observed that Murillo-Godoy was visibly
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                   STATE V. MURILLO-GODOY
                     Cite as 32 Neb. App. 374
nervous and apparently did not speak English. He noted one
suitcase in the backseat and an energy drink and some loose
snacks on the passenger side, suggesting to Goodschmidt that
Murillo-Godoy was trying to cover as many miles as he could
in the shortest amount of time possible. Goodschmidt used
his limited Spanish vocabulary to ask where Murillo-Godoy
was going, to which he replied, “Atlanta.” Murillo-Godoy
presented Goodschmidt with a Mexico consular card and a
California identification card, along with the vehicle’s regis-
tration. Murillo-Godoy indicated he had a “translator app” on
his phone, so Goodschmidt asked him to bring his phone to
Goodschmidt’s patrol vehicle where they could speak by using
the app.
   Murillo-Godoy did not immediately get out of the vehicle
when asked to do so by Goodschmidt; instead, he reached into
the backseat of the vehicle and opened the suitcase, revealing
that there was only clothing inside. He did this without any
prompting or inquiry by Goodschmidt as to the contents of
the suitcase. According to Goodschmidt, he found this “odd”
because motorists do not typically do something like that.
Goodschmidt felt Murillo-Godoy was trying to convince him
that “there was nothing going on.” After displaying the con-
tents of his suitcase, Murillo-Godoy exited his vehicle. He and
Goodschmidt then sat in the front seat of the patrol vehicle,
where they used the translator app on Murillo-Godoy’s phone
to communicate. Goodschmidt also placed his body camera on
the dashboard (video recording of their interaction from that
point includes audio). Goodschmidt did not pat down or hand-
cuff Murillo-Godoy, and he testified that Murillo-Godoy was
able to exit the patrol vehicle at any time.
   Goodschmidt testified about the significance of Murillo-
Godoy’s stated travel plans. Goodschmidt noted that Long
Beach is in the southern part of California and that to reach
Atlanta, Georgia, “in the southern part of the east coast,”
Murillo-Godoy could have taken a more direct route, driv-
ing through Arizona, New Mexico, and Texas, rather than
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                   STATE V. MURILLO-GODOY
                     Cite as 32 Neb. App. 374
driving through Nebraska “approximately 300 miles off his
route.” According to Goodschmidt, drug trafficking organi-
zations will try to avoid more southern routes “because [of]
so many hits” and will “move them farther north.” When
Goodschmidt inquired as to why Murillo-Godoy was going
to Atlanta, Murillo-Godoy said that he had lived in California
for 6 years, was moving permanently to Atlanta for work,
and planned to stay with a relative. They also discussed
why Murillo-Godoy did not have a driver’s license. Murillo-
Godoy told Goodschmidt that he had been trying to get one in
California, and they discussed that he would have to start the
process again in Georgia. Murillo-Godoy also volunteered that
he did not fly to Atlanta because his passport was expired.
   Goodschmidt found it “odd” that someone who had lived
somewhere for 6 years would have only one suitcase of clothes
when moving somewhere else permanently. Goodschmidt felt
that Murillo-Godoy’s comment about not flying was another
attempt to convince him of something and testified that
“[n]ormally if somebody is moving and they only have one
suitcase, [they’d] fly.” Goodschmidt also noted that Murillo-
Godoy continued to be “somewhat nervous,” fidgeting with his
leg and his keys, “mov[ing] them from one spot to the other.”
According to Goodschmidt, normally, if someone has legiti-
mate travel, their nervousness goes away at some point during
their contact with law enforcement.
   Goodschmidt advised Murillo-Godoy that he was giving
him a warning for the inoperable taillight, and they dis-
cussed options for him to get the light fixed. Goodschmidt
returned Murillo-Godoy’s documents to him, gave him the
warning, explained it to him, asked if he had any other
questions, and Murillo-Godoy said he did not. According to
Goodschmidt, Murillo-Godoy was free to go at this point,
although Goodschmidt did not tell him so. Next, Goodschmidt
asked Murillo-Godoy if Goodschmidt could talk to him some
more, and Murillo-Godoy agreed that they “could have a
conversation.” Goodschmidt asked if there was anything
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                   STATE V. MURILLO-GODOY
                     Cite as 32 Neb. App. 374
illegal in the vehicle, and Murillo-Godoy said there was not.
Goodschmidt asked for Murillo-Godoy’s consent to search the
vehicle, and Murillo-Godoy responded by asking repeatedly
why Goodschmidt wanted to do so. While Goodschmidt was
explaining why he “had a suspicion,” he observed Murillo-
Godoy to have “labored breathing.” Goodschmidt interpreted
Murillo-Godoy’s repeated questions as a denial of consent.
   At about 11:20 p.m., roughly 25 minutes after the traffic
stop, Goodschmidt requested a Dawson County “K-9 unit”
and explained to Murillo-Godoy that he was being detained
until a “drug dog” could arrive and be deployed. While
they waited, Goodschmidt did not initiate conversation and
only responded to questions asked by Murillo-Godoy. Shortly
before the dog’s arrival, Goodschmidt informed Murillo-
Godoy that the dog would be there soon, and Murillo-Godoy
volunteered that the dog would “hit on it because there was
marijuana in the car.” At that point, Goodschmidt sought clar-
ification of what had been said, and Murillo-Godoy responded
that there was marijuana for personal consumption in a jar
on the front driver’s-side floorboard by the door. Because
Goodschmidt had already requested a drug dog, he told
Murillo-Godoy they would continue to wait; the drug dog
arrived shortly thereafter.
   When a deputy arrived with the drug dog, Goodschmidt
explained the situation. Goodschmidt observed the deputy look
through the front windshield and driver’s-side window of
Murillo-Godoy’s vehicle, and the deputy told Goodschmidt
he could see the jar with the marijuana in it. Goodschmidt
then told Murillo-Godoy that they were going to conduct a
probable cause search of the vehicle and that he could stand
outside or remain inside the patrol vehicle. Goodschmidt and
the deputy then began searching Murillo-Godoy’s vehicle.
The deputy retrieved the jar of marijuana from the front seat
floor, as well as a baggie that had “a pipe and some residue
in it.” When searching the trunk, they located a “coffee pot
box” that felt heavier than it should have. When the box was
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
opened, Goodschmidt and the deputy observed “what appeared
to be kilos of narcotics.” Goodschmidt testified, based on his
training and experience, that the substance, unidentified at that
point, was most likely cocaine, fentanyl, or heroin.
   Goodschmidt then recontacted Murillo-Godoy and advised
him he was under arrest for possession with intent to distribute
narcotics. Goodschmidt also requested that a Spanish-speaking
officer come to the scene to explain Murillo-Godoy’s rights to
him in Spanish before speaking with him further. According to
Goodschmidt, he did not request an interpreter at the begin-
ning of the traffic stop because at that point, he did not have
“enough suspicion to prolong the traffic stop to wait for . . . an
interpreter to arrive on the scene.” He acknowledged that the
translator app was ineffective at times, requiring the repetition
and retranslation of some of the communication during the traf-
fic stop.
   At the time of Murillo-Godoy’s arrest, $2,000 cash was
seized from his person. The substance found in the trunk was
subsequently confirmed to be fentanyl.

Ruling on Motion to Suppress.
   On April 1, 2022, the district court entered an order deny-
ing Murillo-Godoy’s motion to suppress. The court deter-
mined that the initial traffic stop of Murillo-Godoy’s vehicle
due to an inoperable taillight was valid and free from any
constitutional deficiency or defect. The court determined that
the interaction between Murillo-Godoy and Goodschmidt
“remained a first-tier ‘police-citizen encounter’” at the point
when Goodschmidt returned Murillo-Godoy’s documents,
Goodschmidt gave Murillo-Godoy the warning ticket, and
Murillo-Godoy consented to further questioning. The court
found that Goodschmidt’s communication with Murillo-
Godoy was “pursued through non-coercive questioning, and
was casual and not authoritative.” The court determined that
the first-tier encounter reached its end, becoming a second-
tier police-citizen encounter when Goodschmidt asked
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             32 Nebraska Appellate Reports
                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
Murillo-Godoy if he could search the vehicle, Murillo-Godoy
did not consent, and Goodschmidt told Murillo-Godoy he was
detained while they waited for a drug dog to arrive.
   The district court noted the specific, articulable facts sup-
porting Goodschmidt’s reasonable suspicions that Murillo-
Godoy had committed or was committing a crime, including
(1) the fact that Murillo-Godoy did not have a driver’s license
and his unusual explanation for why he did not; (2) the vehi-
cle’s salvage title and its registration to Murillo-Godoy only
a few months prior to the traffic stop; (2) Murillo-Godoy’s
indirect route from Long Beach to Atlanta; (4) the fact that his
travel originated in a drug source city; (5) Murillo-Godoy’s
moving across the country with only one suitcase, despite
having lived in California for 6 years; (6) Murillo-Godoy’s
opening his suitcase to display its contents without being
asked, possibly intending to distract or “put off” questions;
and (7) Goodschmidt’s observations of Murillo-Godoy’s ner-
vousness during the stop.
   In evaluating the totality of these circumstances, the dis-
trict court observed that the analysis did not permit it to
discount or rule out innocent explanations for suspicious facts
and thus view such factors in isolation. The court concluded
that the facts established a “sufficient and constitutionally
valid justification” for Goodschmidt to detain Murillo-Godoy
and wait for a drug dog. The court noted that several of the
articulated suspicions, such as the origin of Murillo-Godoy’s
travel, in isolation, may not be considered suspicious. The
court reasoned, however, that when all of the factors and
the inferences and deductions from those factors made by an
experienced officer with specialized training were considered
in totality, they justified the detention of Murillo-Godoy.
Accordingly, the court concluded that Murillo-Godoy’s deten-
tion was constitutionally valid and did not transgress his con-
stitutional rights.
   Finally, the district court addressed the issue of prob-
able cause to search Murillo-Godoy’s vehicle. The court
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             32 Nebraska Appellate Reports
                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
determined that Murillo-Godoy’s disclosure that he had mari-
juana in the vehicle, without any prompting by Goodschmidt,
provided Goodschmidt with probable cause for the search.
The court also addressed the amount of time between the
initial stop and the arrival of the drug dog (44 minutes per
the court’s calculation, but closer to 47 minutes based on a
review of the body camera footage) and found that the wait
was not unreasonable for Fourth Amendment purposes.
Stipulated Bench Trial.
   A stipulated bench trial was held before the district court
on July 8, 2022. The State dismissed the possession of drug
money count during the course of the bench trial, and Murillo-
Godoy renewed his motion to suppress, which the court again
denied. The court also received the parties’ joint stipulation
of undisputed facts. The parties stipulated that Murillo-Godoy
was operating a vehicle and was stopped by Goodschmidt on
August 23, 2021. They also stipulated that when his vehicle
was searched, officers found a box with “five kilo bricks” of
a suspected controlled substance, weighing a total of about
5.2 kilograms, including the packaging, and that when tested
at the Nebraska State Patrol Crime Laboratory, the substance
was confirmed to be fentanyl, a Schedule II controlled sub-
stance. Finally, they stipulated that officers found $2,000 cash
in Murillo-Godoy’s left front pocket during the arrest, and the
stipulation noted Murillo-Godoy’s prior motion to suppress
and his renewal of that motion.
Verdict and Sentencing.
   On October 5, 2022, the district court entered an order
denying Murillo-Godoy’s renewed motion to suppress for the
reasons specified in its April 2022 order and finding Murillo-
Godoy guilty of possession of fentanyl with intent to distrib-
ute. The court also ordered a presentence investigation and
scheduled a sentencing hearing.
   On December 6, 2022, the district court entered an order
sentencing Murillo-Godoy to a term of 10 to 18 years’
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                     STATE V. MURILLO-GODOY
                       Cite as 32 Neb. App. 374
imprisonment, with 468 days’ credit for time already served.
The court also ordered the forfeiture of the $2,000 found in
Murillo-Godoy’s possession at the time of his arrest.
                 ASSIGNMENTS OF ERROR
   Murillo-Godoy assigns that (1) the district court erred in over-
ruling his motion to suppress evidence because Goodschmidt
lacked reasonable suspicion to detain him, (2) the court erred
in overruling his motion to suppress because Goodschmidt
lacked probable cause to search the vehicle, and (3) he was
“denied the right to the effective assistance of counsel pursu-
ant to the Sixth Amendment [to] the United States Constitution
and Article I, Section 11 of the Nebraska Constitution.”
   Murillo-Godoy’s third assignment of error fails to spe-
cifically allege any deficient performance by his trial coun-
sel. Assignments of error on direct appeal regarding inef-
fective assistance of trial counsel must specifically allege
deficient performance, and an appellate court will not scour
the remainder of the brief in search of such specificity. State
v. Applehans, 314 Neb. 653, 992 N.W.2d 464 (2023). In
his reply brief, Murillo-Godoy urges us to consider his last
assigned error, arguing that his assertion of deficient perform­
ance was set forth with the requisite specificity in the sum-
mary of argument section of his initial brief. The Nebraska
Supreme Court has repeatedly made clear that the requisite
specificity must be found in the assignment of error itself.
Accordingly, we do not address Murillo-Godoy’s third assign-
ment of error.
                   STANDARD OF REVIEW
   [1] In reviewing a trial court’s ruling on a motion to sup-
press based on a claimed violation of the Fourth Amendment,
an appellate court applies a two-part standard of review. State
v. Elias, 314 Neb. 494, 990 N.W.2d 905 (2023). Regarding
historical facts, an appellate court reviews the trial court’s
findings for clear error, but whether those facts trigger or vio-
late Fourth Amendment protections is a question of law that
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                    STATE V. MURILLO-GODOY
                      Cite as 32 Neb. App. 374
an appellate court reviews independently of the trial court’s
determination. Id.                          ANALYSIS
   Murillo-Godoy assigns that the district court erred in over-
ruling his motion to suppress evidence because Goodschmidt
lacked reasonable suspicion to detain him and lacked probable
cause to search the vehicle. He acknowledges that the initial
stop of his vehicle was proper, but he argues that the stop was
improperly extended beyond the scope of the traffic violation
because Goodschmidt did not have reasonable suspicion to do
so. Murillo-Godoy argues further that his admission that there
was marijuana in the vehicle was obtained during a custodial
interrogation in violation of his Miranda rights and that thus,
Goodschmidt lacked probable cause to search the vehicle.
Relevant Propositions Concerning
Police-Citizen Encounters.
   [2,3] Both the Fourth Amendment to the U.S. Constitution
and article I, § 7, of the Nebraska Constitution guarantee
against unreasonable searches and seizures. State v. Samuels,
31 Neb. App. 918, 991 N.W.2d 900 (2023). Evidence obtained
as the fruit of an illegal search or seizure is inadmissible in a
state prosecution and must be excluded. Id.   [4,5] To determine whether an encounter between an offi-
cer and a citizen reaches the level of a seizure under the
Fourth Amendment to the U.S. Constitution, an appellate
court employs the analysis set forth in State v. Van Ackeren,
242 Neb. 479, 495 N.W.2d 630 (1993), which describes the
three levels, or tiers, of police-citizen encounters. State v.
Samuels, supra. A tier-one police-citizen encounter involves
the voluntary cooperation of the citizen elicited through non-
coercive questioning and does not involve any restraint of
liberty of the citizen. Id. Because tier-one encounters do not
rise to the level of a seizure, they are outside the realm of
Fourth Amendment protection. State v. Samuels, supra. A tier-
two police-citizen encounter involves a brief, nonintrusive
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detention during a frisk for weapons or preliminary question-
ing. Id. A tier-three police-citizen encounter constitutes an
arrest, which involves a highly intrusive or lengthy search or
detention. Id. Tier-two and tier-three police-citizen encounters
are seizures sufficient to invoke the protections of the Fourth
Amendment to the U.S. Constitution. State v. Samuels, supra.
   [6-8] A seizure in the Fourth Amendment context occurs
only if, in view of all the circumstances surrounding the inci-
dent, a reasonable person would have believed that he or she
was not free to leave. State v. Samuels, supra. In addition to
situations where an officer directly tells a suspect that he or
she is not free to go, circumstances indicative of a seizure
may include the threatening presence of several officers, the
display of a weapon by an officer, some physical touching of
the citizen’s person, or the use of language or tone of voice
indicating the compliance with the officer’s request might be
compelled. Id. A seizure does not occur simply because a law
enforcement officer approaches an individual and asks a few
questions or requests permission to search an area, provided
the officer does not indicate that compliance with his or her
request is required. Id.

Initial Traffic Stop and Investigation.
   In this case, the evidence shows that Murillo-Godoy was
stopped because his vehicle had an inoperable taillight, and
he does not challenge the lawfulness of the initial traffic stop
and resulting investigation. See State v. Thompson, 30 Neb.
App. 135, 966 N.W.2d 872 (2021) (traffic violation, no matter
how minor, creates probable cause to stop driver of vehicle).
See, also, Neb. Rev. Stat. § 60-6,219 (Reissue 2021) (setting
forth requirements for motor vehicle lights); State v. Burns,
16 Neb. App. 630, 747 N.W.2d 635 (2008) (where vehicle
is equipped with two taillights, § 60-6,219(6) requires both
taillights to give substantially normal light output and to
show red directly to rear). The traffic stop resulted in a tier-
two seizure sufficient to invoke the protections of the Fourth
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Amendment. See State v. Hartzell, 304 Neb. 82, 933 N.W.2d
441 (2019).
   After stopping Murillo-Godoy’s vehicle, Goodschmidt con-
ducted an investigation reasonably related in scope to the
circumstances justifying the stop. See State v. Barbeau, 301
Neb. 293, 917 N.W.2d 913 (2018) (once vehicle is lawfully
stopped, law enforcement officer may conduct investigation
reasonably related in scope to circumstances that justified
traffic stop). Goodschmidt provided Murillo-Godoy with a
warning ticket and returned his documents to him, explained
the ticket, and told Murillo-Godoy he only needed to fix the
broken taillight. He asked if Murillo-Godoy had any ques-
tions, and Murillo-Godoy said he did not. Goodschmidt then
asked if he could ask Murillo-Godoy some more questions,
and Murillo-Godoy consented to further conversation. Upon
Goodschmidt’s inquiry, Murillo-Godoy denied having any-
thing illegal in the vehicle and, rather than responding directly
to Goodschmidt’s request to search the vehicle, began asking
why Goodschmidt wanted to make a search. The conversation
continued until Goodschmidt stated that it was his belief there
were illegal substances in the vehicle and that Murillo-Godoy
was being detained until a drug dog could arrive. While they
were waiting for the dog’s arrival, Murillo-Godoy volunteered
that there was marijuana in the vehicle and confirmed to
Goodschmidt that it was for personal use.
   In its order ruling on Murillo-Godoy’s motion to sup-
press, the district court characterized the entire encounter as
being a tier-one police-citizen encounter up until the point
when Goodschmidt asked Murillo-Godoy if he could search
the vehicle and Murillo-Godoy did not provide consent. A
more accurate assessment of the encounter is that the sei-
zure resulting from the traffic stop ended at the point when
Goodschmidt issued and explained the warning ticket, returned
Murillo-Godoy’s documents, and ensured Murillo-Godoy had
no further questions. A new consensual encounter began at
the point when Murillo-Godoy agreed to speak further with
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Goodschmidt. The district court found that this consensual
encounter ended when Goodschmidt asked for consent to
search the vehicle. We agree. The question then becomes
whether reasonable suspicion existed to extend the stop fol-
lowing Murillo-Godoy’s refusal to the request to search.

Reasonable Suspicion to Extend Stop.
   [9-11] The question raised by Murillo-Godoy’s first assign-
ment of error is whether Goodschmidt had a reasonable, artic-
ulable suspicion to extend the investigative stop. A lawful
traffic stop can become unlawful if it is prolonged beyond
the time reasonably required to complete the mission of the
stop, such as issuing a warning ticket. State v. Thompson, 30Neb. App. 135, 966 N.W.2d 872 (2021). When the mission of
an investigative stop is addressing a suspected traffic viola-
tion, the stop may last no longer than is necessary to effectu-
ate that purpose, and authority for the seizure thus ends when
tasks tied to the traffic infraction are, or reasonably should
have been, completed. Id. Although a police officer can
inquire into matters unrelated to the justification for a traffic
stop if it does not measurably extend the duration of the stop,
it is unlawful to prolong a stop beyond the time reasonably
required to complete the mission of the stop. State v. Samuels,
31 Neb. App. 918, 991 N.W.2d 900 (2023).
   [12-15] A traffic stop can be extended if the officer has a
reasonable, articulable suspicion that the motorist is involved
in criminal activity unrelated to the traffic violation. Id.Reasonable suspicion entails some minimal level of objective
justification for detention, something more than an inchoate
and unparticularized hunch, but less than the level of suspi-
cion required for probable cause. Id. Whether a police officer
has a reasonable suspicion based on sufficient articulable
facts depends on the totality of the circumstances and must
be determined on a case-by-case basis. State v. Lowman, 308
Neb. 482, 954 N.W.2d 905 (2021). We also note that fac-
tors that would independently be consistent with innocent
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activities may nonetheless amount to reasonable suspicion
when considered collectively. State v. Samuels, supra.
    [16,17] A determination that reasonable suspicion exists
need not rule out the possibility of innocent conduct. State v.
Barbeau, 301 Neb. 293, 917 N.W.2d 913 (2018). The inquiry
is not whether some circumstances may be susceptible of
innocent explanation, but whether, taken together, they suf-
fice to form a particularized and objective basis for the officer
to suspect a crime is, or is about to, occur. Id. Additionally,
an officer’s suspicion of criminal activity may reasonably
grow over the course of a traffic stop as the circumstances
unfold and more suspicious facts are uncovered. State v.
Samuels, supra.
    In this case, the district court noted the factors over the
course of Goodschmidt’s encounter with Murillo-Godoy that
raised his suspicions that Murillo-Godoy was engaged in
criminal activity: (1) Murillo-Godoy did not have a driver’s
license and provided an unusual explanation for why he
did not, (2) the vehicle had a salvage title and had been
titled and registered only a few months prior to the stop,
(3) Murillo-Godoy was taking an indirect route from Long
Beach to Atlanta, (4) Long Beach was a drug source city,
(5) Murillo-Godoy had lived in Long Beach for 6 years but
was moving to Atlanta with only one suitcase, (6) Murillo-
Godoy displayed the contents of his suitcase to Goodschmidt
unprompted, and (7) Goodschmidt’s observations of Murillo-
Godoy’s nervousness.
    Murillo-Godoy argues that every fact considered by
Goodschmidt is innocent in nature. He notes that Goodschmidt
did not find any prior criminal history for him and that there
were no inconsistent explanations for his travel given by a
passenger in the vehicle. He contends that Goodschmidt’s
interpretation of the circumstances was colored by the lan-
guage barrier between them. While some of the factors relied
on by Goodschmidt would independently be consistent with
innocent activities, we agree with the district court that
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when considered collectively, the totality of the circumstances
provided a reasonable, articulable suspicion to extend the traf-
fic stop.
   Goodschmidt relied on factors that included Murillo-
Godoy’s indirect route from California to Georgia and the
origin of his travel in a drug source city. Murillo-Godoy notes
that travel plans described as somewhat unconventional may
not necessarily be indicative of criminal activity. See State v.
McGinnis, 8 Neb. App. 1014, 608 N.W.2d 605 (2000) (unusual
or suspicious travel plans may not always give rise to rea-
sonable suspicion). This is true, but when travel plans seem
unusual and are not reasonably explained, such circumstances
may give rise to reasonable suspicion. State v. Yang, 28 Neb.
App. 447, 945 N.W.2d 206 (2020). See State v. Howard, 282
Neb. 352, 803 N.W.2d 450 (2011) (unusual length, nature,
expense, and duration of trip weighed heavily in favor of find-
ing reasonable suspicion). Additionally, this court has noted
that while the Eighth Circuit has found travel originating in
a location known for drug activity to be of limited value in
determining reasonable suspicion, such a circumstance can
contribute to a finding of reasonable suspicion where there
are other existing suspicious factors of criminal activity. See
State v. Yang, supra. See, also, U.S. v. Beck, 140 F.3d 1129(8th Cir. 1998).
   [18] We agree that certain factors relied on by Goodschmidt,
when viewed in isolation, may not be considered suspicious.
Certainly, cost considerations could explain an individual’s
decision to drive rather than fly when moving across the
country, and various personal circumstances might lead to a
person’s moving permanently from one state to another with
only a single suitcase of clothing. And, although of limited
usefulness, nervousness exhibited by a motorist during a traffic
stop may be considered along with other factors in determin-
ing whether the officer has reasonable suspicion to expand
the scope of the detention. State v. Verling, 269 Neb. 610, 694
N.W.2d 632 (2005).
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    Other factors considered by Goodschmidt included Murillo-
Godoy’s lack of a driver’s license, the vehicle’s salvage title
and recent titling and registration, and Murillo-Godoy’s appar-
ent efforts to distract him from possible criminal activity,
including voluntarily opening his suitcase and displaying its
contents. Murillo-Godoy was traveling from a drug source
city in California to Georgia by way of Nebraska, a lengthy
and indirect route, especially for someone driving without a
license. Goodschmidt had extensive training in drug and con-
traband interdiction, and he was aware of the use of salvage-
titled vehicles and less-southerly travel routes by drug traf-
ficking organizations. When these factors, and those discussed
above, are considered in their totality, they established a rea-
sonable, articulable suspicion for Goodschmidt to extend the
traffic stop to wait for a drug dog to arrive. The district court
did not err in denying Murillo-Godoy’s motion to suppress on
this basis.
    [19] For the sake of completeness, we note that if reason-
able suspicion exists for a continued detention, the court
must consider whether the detention was reasonable in the
context of an investigative stop, considering both the length
of the continued detention and the investigative methods
employed. State v. Yang, supra. Murillo-Godoy does not chal-
lenge the district court’s determination that the duration of
the investigatory stop (lasting less than 50 minutes) was not
unreasonable for purposes of the Fourth Amendment, and we
find no error in this regard. See State v. Drake, 311 Neb. 219,
971 N.W.2d 759 (2022) (discussing reasonableness of dura-
tion periods of various investigatory stops while waiting for
drug dog).

Probable Cause to Search.
   Murillo-Godoy assigns that the district court erred in
overruling his motion to suppress because Goodschmidt
lacked probable cause to search the vehicle. The court found
that Murillo-Godoy’s disclosure that he had marijuana in
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the vehicle, made without any prompting or inquiry by
Goodschmidt, while they were waiting for the drug dog
to arrive, provided probable cause to conduct a search of
Murillo-Godoy’s vehicle. See State v. Landis, 281 Neb. 139,
794 N.W.2d 151 (2011) (finding defendant’s confession to
marijuana possession while seated in state trooper’s cruiser
during investigatory stop was voluntary and thus comported
with due process, absent indication that trooper used force or
threats to get defendant to enter cruiser or to remain there).
   Ignoring his initial voluntary statement that there was mar-
ijuana in his vehicle, Murillo-Godoy relies on his second
statement about the presence of marijuana for personal use
in the vehicle following the clarifying question asked by
Goodschmidt. He argues that Goodschmidt lacked probable
cause to search his vehicle because Goodschmidt conducted
a custodial interrogation in violation of Murillo-Godoy’s
Miranda rights.
   [20-22] The safeguards provided by Miranda v. Arizona,
384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d 694 (1966),
come into play whenever a person in custody is subjected to
either express questioning or its functional equivalent. State
v. Johnson, 308 Neb. 331, 953 N.W.2d 772 (2021). The ulti-
mate inquiry for determining whether a person is in custody
for purposes of Miranda is whether there is a formal arrest
or restraint on freedom of movement of a degree associated
with a formal arrest. State v. Benson, 305 Neb. 949, 943
N.W.2d 426 (2020). Persons temporarily detained pursuant to
an investigatory traffic stop are not in custody for purposes
of Miranda. State v. Khalil, 25 Neb. App. 449, 908 N.W.2d
97 (2018).
   [23-25] When a person is detained pursuant to a traffic
stop, there must be some further action or treatment by the
police to render the driver in custody and entitled to Miranda
warnings. State v. Khalil, supra. It is where a suspect is
detained only to an extent analogous to an arrest that Miranda
warnings are required. State v. Landis, supra. Coercive police
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activity is a necessary predicate to the finding that a confes-
sion is not voluntary within the meaning of the Due Process
Clause of the 14th Amendment. State v. Landis, supra.
   Here, Murillo-Godoy was temporarily detained pursuant to a
traffic stop and voluntarily entered Goodschmidt’s patrol vehi-
cle while Goodschmidt prepared the warning ticket. We have
already determined that Goodschmidt had reasonable, articu-
lable suspicions sufficient to extend the stop to wait for a drug
dog. Some further action or treatment by Goodschmidt that
would raise Murillo-Godoy’s detention to an extent analogous
to an arrest was required to render him in custody. Because
there was none, Murillo-Godoy was not “in custody” for
Miranda purposes, and Miranda warnings were not required
before he could be questioned.
   The district court determined that Murillo-Godoy volun-
tarily stated he had marijuana in his vehicle. The court found
no evidence of any prior action on the part of Goodschmidt
that was or could be construed to be coercive or exerting an
effort to overcome Murillo-Godoy’s free will. The court noted
that Murillo-Godoy was never restrained in the patrol vehicle
and that he was not handcuffed until after the search revealed
the presence of drugs in the trunk of his vehicle. The court
found no evidence of any force, coercion, compulsion, or
other effort to compel Murillo-Godoy to remain in the patrol
vehicle to answer questions from Goodschmidt, to wait for
the drug dog, or to make the statement about the presence of
marijuana in his vehicle. The court concluded that Murillo-
Godoy’s presence in the patrol vehicle during the questioning
and his statement about the marijuana were voluntary and the
product of his free will. This is consistent with our review of
the record.
   Because the record does not show that Murillo-Godoy
was in custody for Miranda purposes while seated in
Goodschmidt’s patrol vehicle while waiting for the drug dog,
we need not address whether he was subjected to an interro-
gation during that time. Accordingly, any statements he made
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to Goodschmidt while seated in the patrol vehicle were not
obtained in violation of his Fifth Amendment rights. Murillo-
Godoy’s voluntary statement about the presence of marijuana
in his vehicle provided Goodschmidt with probable cause to
search Murillo-Godoy’s vehicle. See State v. Landis, 281 Neb.
139, 794 N.W.2d 151 (2011). The district court did not err in
denying Murillo-Godoy’s motion to suppress on this basis.
                        CONCLUSION
   Having considered and rejected Murillo-Godoy’s assigned
errors, we affirm his conviction and sentence.
                                               Affirmed.
